Case 2:13-cv-08418-JAK-GJS Document 544 Filed 07/13/17 Page 1 of 9 Page ID #:18538

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA


                                        CIVIL MINUTES – GENERAL

 Case No.        LA CV13-08418 JAK (GJSx)                                    Date   July 13, 2017


 Title           CH2O, Inc. v. Meras Engineering, Inc., et al.




 Present: The Honorable              JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    Andrea Keifer                                         Not Reported
                    Deputy Clerk                                    Court Reporter / Recorder
            Attorney Present for Plaintiffs:                     Attorneys Present for Defendants:
                     None Present                                         None Present


 Proceedings:              (IN CHAMBERS) DEFENDANTS’ MOTION FOR NEW TRIAL ON
                           DAMAGES OR REMITTITUR (DKT. 473)

   I.       INTRODUCTION

   CH2O, Inc. (“Plaintiff” or “CH2O”) commenced this patent infringement action in 2013. It alleged
   that Houweling’s Nurseries Oxnard, Inc., HNL Holdings Ltd., Houweling Utah Operations, Inc.,
   and Houweling’s Nurseries Ltd. (collectively, “Houweling’s” or “Defendants”) and Meras
   Engineering, Inc. (“Meras”)1 infringed claims 1, 2, and 7 of U.S. Patent No. 6,767,470 (“the ’470
   Patent”). See First Am. Compl., Dkt. 107; Def.’s Motion, Dkt. 166-1, at 1. On September 6,
   2016, following a jury trial, a verdict was entered in favor of CH2O and against Meras and
   Houweling’s on all claims.

   Defendants filed a motion for a new trial on damages or remittitur (“Motion”). Dkt. 473. Plaintiff
   opposed the Motion. Dkt. 488. Defendants replied. Dkt. 502. For the reasons stated in this
   Order, the Motion is DEFERRED.

   II.      BACKGROUND

            A.       Technology

   The ’470 Patent, which is titled “Method for Cleaning and Maintaining Water Delivery Systems,”
   discloses a “method and composition for cleaning and maintaining water storage and/or
   distribution systems” using “a reacted mixture of a sodium chlorite solution and a second
   solution,” e.g., an acidic solution, to obtain chlorine dioxide to inhibit, remove, or eliminate
   bacterial fouling, mineral deposits, or microorganisms in water storage or distribution systems.
   ’470 Patent at 1:11-18, 59.

   1
    Meras and CH2O entered a settlement agreement with respect to the claims against Meras. Thereafter,
   Meras was dismissed. See Dkts. 537, 538.


                                                                                            Page 1 of 9
Case 2:13-cv-08418-JAK-GJS Document 544 Filed 07/13/17 Page 2 of 9 Page ID #:18539

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                        CIVIL MINUTES – GENERAL

 Case No.        LA CV13-08418 JAK (GJSx)                                        Date    July 13, 2017


 Title           CH2O, Inc. v. Meras Engineering, Inc., et al.



   The patent teaches that introducing a catalyst such as sodium molybdate enhances the
   conversion of sodium chlorite to active chlorine dioxide, and that it may take several minutes of
   reaction time to achieve optimum results. ’470 Patent at Abstract, 1:66-2:3, 2:39. Introducing
   sodium molybdate as a catalyst has two significant effects. First, it accelerates the reaction;
   second, it reduces the reaction time of the acid with sodium chlorite. Id. at 3:61-4:3.

   At trial, it was established that chlorine dioxide is a well-known chemical that has been used as
   a disinfectant for decades in a wide variety of agricultural and industrial applications. Dkt. 474 at
   3 (citing Dkt. 469, Tr. at 791:10-24; 1013:7-18; 1014:16-1016:6; 1016:23-1017:3; 1017:8-
   1018:9; 1107:25-1108:10.) It was also shown that, for many decades, chlorine dioxide has been
   created the same way, i.e., by mixing sodium chlorite with an acid. Id. (citing Tr. at 889:5-21,
   1014:22-1015:14.)

            B.       Generation of Chlorine Dioxide at Houweling’s Facilities

   Chlorine dioxide was created at Houweling’s facilities by mixing sodium chlorite, hydrochloric
   acid, and bleach in a reaction chamber. Dkt. 474 at 4-5.2 It is undisputed that Houweling’s adds
   no sodium molybdate or any other catalyst to the reaction chamber. Id. at 5. However, because
   the reactions that occur there are not entirely efficient, some residual amounts of both sodium
   chlorite and acid remain after the reaction is completed. Id.

   Once the reaction has been substantially completed, the chlorine dioxide solution, which
   includes the residual sodium chlorite, is moved to a storage tank that is referred to as a “day
   tank.” Id. The day tank is connected by a pipe to Houweling’s water distribution system, which
   delivers water to the greenhouses. These processes are shown in the following diagram:




   2
    The mixture of these components results in a reaction that creates chlorine dioxide even if the bleach is
   not added. Dkt. 469, Tr. at 889:19-21.


                                                                                                  Page 2 of 9
Case 2:13-cv-08418-JAK-GJS Document 544 Filed 07/13/17 Page 3 of 9 Page ID #:18540

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                        CIVIL MINUTES – GENERAL

 Case No.        LA CV13-08418 JAK (GJSx)                                         Date    July 13, 2017


 Title           CH2O, Inc. v. Meras Engineering, Inc., et al.




   Dkt. 498, Ex. B (Ex. 295-16.)

   At trial, Plaintiff presented evidence as to its claim of infringement. It was based on the
   contention that Defendants perform a double-admixing step3 in which the second instance
   occurs in the presence of sodium molybdate. (Dkt. 469, Tr. (Hermanowicz) at 903:1-908:1,
   1008:7-21.) Thus, most of the chlorine dioxide is formed in the reaction chamber, and only a
   small portion of the chlorine dioxide is generated from the amount of residual sodium chlorite at
   the “admixing #2” point and downstream in the presence of the sodium molybdate catalyst.

   III.     ANALYSIS

            A.       Legal Standards

   Following a jury trial, a court may grant a motion for a new trial “for any reason for which a new
   trial has heretofore been granted in an action at law in federal court.” Fed. R. Civ. P. 59(a)(1).
   Such a motion may be granted “if the verdict is contrary to the clear weight of the evidence, or is

   3
     At the injection point “admixing #2,” the sodium chlorite mixes with a second solution containing an acid
   in the presence of molybdate, which catalyzes the reaction.


                                                                                                   Page 3 of 9
Case 2:13-cv-08418-JAK-GJS Document 544 Filed 07/13/17 Page 4 of 9 Page ID #:18541

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                        CIVIL MINUTES – GENERAL

 Case No.        LA CV13-08418 JAK (GJSx)                                      Date    July 13, 2017


 Title           CH2O, Inc. v. Meras Engineering, Inc., et al.

   based upon evidence which is false, or to prevent, in the sound discretion of the trial court, a
   miscarriage of justice.” Silver Sage Partners, Ltd. v. City of Desert Hot Springs, 251 F.3d 814,
   819 (9th Cir.2001) (citation omitted). However, “a district court may not grant a new trial simply
   because it would have arrived at a different verdict.” Id.

   In assessing the clear weight of the evidence, “the judge can weigh the evidence and assess
   the credibility of witnesses, and need not view the evidence from the perspective most favorable
   to the prevailing party.” Landes Const. Co. v. Royal Bank of Canada, 833 F.2d 1365, 1371 (9th
   Cir.1987). Even if substantial evidence precludes the entry of judgment as a matter of law, a
   court may grant a motion for a new trial. Id. “[E]rroneous jury instructions, as well as the failure
   to give adequate instructions, are also bases for a new trial.” Murphy v. City of Long Beach, 914
   F.2d 183, 187 (9th Cir.1990).

            B.       Application

                     1.      Apportionment

   Defendants challenge the damages award, arguing that Plaintiff failed to prove more than
   nominal damages. Dkt. 474 at 13. Specifically, Defendants claim that nearly all of the chlorine
   dioxide is generated at Houweling’s in a reaction chamber in a non-infringing manner, without
   the use of sodium molybdate or ammonium molybdate. Id. at 13-14. Defendants add that,
   despite the limited nature of the infringement, Plaintiff’s damages case was improperly based
   upon the value of all of the chlorine dioxide used in Houweling’s irrigation system. Id. at 14.
   From this, Defendants conclude that Plaintiff’s failure to apportion the value of the small amount
   of chlorine dioxide created through catalysis within the value of the much greater amount of
   non-infringing chlorine dioxide that was created without any catalyst, requires vacating the
   damages award.

   Plaintiff responds that it proved that Defendants substantially benefited from pervasive and
   widespread infringement and presented appropriate evidence on apportionment. In particular, it
   points to unrebutted evidence showing that Defendants injected the admixed precursor
   chemicals used to generate chlorine dioxide at “a number of injection points at the Houweling’s
   facility[ies] – seven in Camarillo [and] five at the Utah facility.” Dkt. 488 at 6. Plaintiff adds that
   the degree of catalysis was significant, and that there was a significant increase of chlorine
   dioxide at each injection point.

   An assessment of the evidence and these competing positions under the standards of Rule 59,
   shows that Defendants’ arguments are persuasive. They are consistent with the controlling
   precedent. As a substantive matter, it is the “value of what was taken” that is to be used as a
   measure of a “reasonable royalty” under 35 U.S.C. § 284. Ericsson, Inc. v. D-Link Systems, Inc.,
   773 F.3d 1201, 1226 (2014) (internal citations omitted). “What is taken from the owner of a utility
   patent (for purposes of assessing damages under § 284) is only the patented technology, and


                                                                                               Page 4 of 9
Case 2:13-cv-08418-JAK-GJS Document 544 Filed 07/13/17 Page 5 of 9 Page ID #:18542

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.      LA CV13-08418 JAK (GJSx)                                     Date    July 13, 2017


 Title         CH2O, Inc. v. Meras Engineering, Inc., et al.

   so the value to be measured is only the value of the infringing features of an accused product.”
   Id.

   The Federal Circuit also has explained that “[w]hen the accused infringing products have both
   patented and unpatented features, measuring this value requires a determination of the value
   added by such features.” Id. “The essential requirement is that the ultimate reasonable royalty
   award must be based on the incremental value that the patented invention adds to the end
   product.” Id.; see also Virnetx, Inc. v. Cisco Systems, Inc., 767 F.3d 1308, 1326 (2014) (“No
   matter what the form of the royalty, the patentee must take care to seek only those damages
   attributable to the infringing features.”).

   Although this action does not involve multi-component products, the rationale for apportionment
   still applies. Plaintiff has not shown that the extensive Federal Circuit case law on
   apportionment does not apply to method claims. Nor has it identified any legal authority that
   would support the claim, based on the trial evidence, that a patentee may recover damages for
   the use of a non-infringing method that a defendant used in conjunction with an alleged
   infringing one. Further, the need separately to assess the value of the chlorine dioxide created
   by the patented process is reflected in the stipulated jury instructions. They included the
   following language:

            In this case the ’470 patent covers only one component of the method that Meras
            and/or Houweling’s use or sell. It is CH2O’s burden to demonstrate what value
            the patented method has added to the desirability of the method as a whole and
            to separate the value of the patented contribution from the value of other parts of
            the method that are not attributable to the patented invention.

   Dkt. 469, Tr. at 1318:22-1319:4.

   Here, the asserted claims require the use of a catalyst in the generation of chlorine dioxide. It is
   undisputed that generating chlorine dioxide without a catalyst was already known prior to the
   issuance of the ’470 Patent. Therefore, Plaintiff was required to establish the value of producing
   chlorine dioxide through the patented catalytic method rather than through those used in the
   prior art. Instead, Plaintiff based its damages theory on the value to Houweling’s of all of the
   chlorine dioxide that it used. This included the majority of the chlorine dioxide, which was
   created through the use by Defendants of a non-infringing and prior art technique. Dkt. 474 at
   15-16 (citing Dkt. 469, Tr. at 760:7-21; 732:20-739:21; 763:7-18; 766:18-22.) This calculation of
   damages is inconsistent with the governing principles that the Federal Circuit has adopted.

   Plaintiff makes several responsive arguments. None is unpersuasive. First, it argues that
   catalysis was significant and “took place throughout the system as opposed to a single reaction
   chamber.” Dkt. 488 at 6-9. This overstates the evidence, which showed that catalysis only
   occurred at a few injection points. Further, even if the trial evidence supported this general


                                                                                            Page 5 of 9
Case 2:13-cv-08418-JAK-GJS Document 544 Filed 07/13/17 Page 6 of 9 Page ID #:18543

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA CV13-08418 JAK (GJSx)                                      Date    July 13, 2017


 Title       CH2O, Inc. v. Meras Engineering, Inc., et al.

   statement, CH2O still does not dispute that the total amount of chlorine dioxide generated in the
   irrigation pipe, i.e., in the presence of a catalyst, is small compared to the amount generated in
   the reaction chamber in a manner that did not infringe the ’470 Patent.

   Second, Plaintiff argues that apportionment is unnecessary because it would be impossible for
   Houweling’s to create chlorine dioxide in a non-infringing manner in its reaction chamber without
   causing some incidental infringement in its irrigation pipes. Dkt. 488 at 10. However, even if a
   product would not work without incorporating an infringing feature, apportionment is still
   required. See LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 68 (2012). For
   example, a computer will be of little value to anyone unless there is a screen, but the inventor of
   an improved computer screen is not entitled to recover damages on the sales price of an entire
   computer. Dkt. 474 at 16 (citing LaserDynamics, 694 F.3d at 68). “It is not enough to merely
   show that the [patented feature] is viewed as a valuable, important, or even essential.” VirnetX,
   767 F.3d at 1326-27. Similarly here, the inventor of a method of creating chlorine dioxide using
   sodium molybdate is not entitled to recover damages based on the value of all chlorine dioxide
   made by a defendant when only a fraction of that chlorine dioxide is made by using the patented
   method.

   Finally, Plaintiff contends that it did apportion damages by comparing the value of chlorine
   dioxide to the value of the chlorine that Houweling’s had used prior to the infringement. Dkt. 488
   at 10. This is not a proper means of apportionment. As VirnetX and Ericsson illustrate,
   apportionment requires allocation of damages between the infringing and non-infringing aspects
   of the accused product or method. Plaintiff has cited no authority that supports its assertion that
   a patentee is entitled to recover damages on both the infringing and non-infringing aspects
   solely by comparing the value of the patented technology to prior art.

   Patentees must apportion the royalty based on a reasonable estimate of the value of the
   claimed technology. Plaintiff did not adequately isolate the incremental benefits attributable to
   the patent technology. Therefore, the damages award of $12.5 million exceeds the amount that
   can reasonably be supported by the evidence.

                  2.     Other Grounds for New Trial Raised by Defendants

   The other grounds advanced by Defendants for a new trial are unpersuasive. Some need not be
   considered in light of the foregoing analysis. Others are without force.

                         a)      Whether the Damages Award is Excessive When Considered in
                         Light of the Claimed Lost profits

   Defendants argue that the award of $12.5 million is grossly excessive compared to what Plaintiff
   charged Houweling’s for the provision of chemicals and the use of the patented invention. This
   was less than $600,000 per year. Dkt. 474 at 16-17. Plaintiff responds that the jury may


                                                                                           Page 6 of 9
Case 2:13-cv-08418-JAK-GJS Document 544 Filed 07/13/17 Page 7 of 9 Page ID #:18544

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.     LA CV13-08418 JAK (GJSx)                                        Date    July 13, 2017


 Title        CH2O, Inc. v. Meras Engineering, Inc., et al.

   consider the value conferred to the infringer by use of the patented technology. It adds that
   Iverson, who owns CH2O, was unaware of the full extent of the benefits to Houweling’s of the
   patented invention when Houweling’s was a customer of CH2O. Dkt. 488 at 13-18. Plaintiff adds
   that a reasonable royalty is not limited by the infringer’s revenues and profits, and a patentee’s
   expected profit does not serve as a ceiling on damages. Id. at 17.

   There is no per se rule that any award of damages is capped by profits. However, evidence as
   to such profits is often a relevant part of the inquiry. CH2O received at most $600,000 annually
   through actual negotiations with Houweling’s. The damage award of $12.5 million applied to a
   three-year period of infringement. This means an annual award of more than $4 million. This is
   more than 6.5 times the amount that had been negotiated. This confirms the conclusion that the
   award of damages exceeds that reasonably supported by the evidence.

                          b)      Apportionment Based on Ammonium Molybdate

   Defendants also argue that the damages should be apportioned based on the use of ammonium
   molybdate. This position relies on the assumption that the use of ammonium molybdate does
   not infringe the ’470 Patent as a matter of law. This argument was rejected in a separate order
   denying Defendants’ motion for judgment as a matter of law. Dkt. 540.

                          c)      Whether Plaintiff’s “off-hauling” Theory was Baseless

   Defendants object to the inclusion of off-hauling costs in Plaintiff’s calculation of benefits
   associated with using the patented technology. In response, Plaintiff cites evidence establishing
   that a key benefit of the patented technology was an ability to circulate used water. Absent the
   use of the technology, Houweling’s would have had to dispose of this water offsite by hiring
   trucks to “off-haul” the spent water from its facility that is located in an environmentally-sensitive
   watershed. Dkt. 488 at 18-22. For example, Houweling testified that he was obligated under his
   agreement with the Ventura County Agriculture Irrigated Lands Group to recycle the highest
   possible amount of water and thereby limit the amount of tailwater runoff. Id. at 19. Further,
   Hagerty, whom Plaintiff called as an expert witness, presented detailed opinions that
   Houweling’s implemented best practices in the recycling of water, and would not violate them.
   Id. He also explained that several California cities and counties implemented off-hauling, as did
   Plaintiff, and used the costs of their program to average and calculate the off-hauling cost that
   Houweling’s would otherwise have incurred. Id. at 20.

   Viewed collectively, the trial evidence was sufficient to show that a key benefit of the use of the
   patented technology was the recirculation of used water. This benefit was relevant to a
   calculation of damages. Notably, the jury did not award the full amount of damages requested
   by Plaintiff. How it assessed or applied the evidence on the savings associated with the
   recycling of water, is uncertain. Therefore, this ground is not an independent basis to grant the
   Motion.


                                                                                              Page 7 of 9
Case 2:13-cv-08418-JAK-GJS Document 544 Filed 07/13/17 Page 8 of 9 Page ID #:18545

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA


                                        CIVIL MINUTES – GENERAL

 Case No.     LA CV13-08418 JAK (GJSx)                                         Date    July 13, 2017


 Title        CH2O, Inc. v. Meras Engineering, Inc., et al.



                           d)     Whether Plaintiff Improperly Dismissed the Cost of Switching to
                           the Next Best Alternatives

   Defendants’ final argument is that Plaintiff’s theory improperly dismissed the cost of switching to
   the next best alternatives, including hydrogen peroxide. Dkt. 474 at 21-24. At trial, Plaintiff’s
   experts considered the potential acceptable non-infringing alternatives and concluded that there
   was none. Dkt. 488 at 22. For example, Hermanowicz testified that hydrogen peroxide
   “decomposes very rapidly,” and would not be as efficient in killing microorganisms. Id. at 24.
   Iverson testified that Houweling’s had tried, but abandoned, the use of hydrogen peroxide
   before switching to CH2O’s patented technology. Id. Iverson also explained that hydrogen “just
   doesn’t work. You can’t uniformly apply hydrogen peroxide throughout the irrigation network at a
   low dose.” Dkt. 469, Tr. (Iverson) at 160:16-20.

   As noted in connection with the discussion of “off-hauling,” the jury did not award the full amount
   of damages sought by Plaintiff. This could reflect a decision based on the application of the cost
   of switching to a next best alternative. Nevertheless, based on a review of the trial evidence, it
   was sufficient as to why other non-infringing alternatives were not viable. Therefore, the jury
   could properly have considered this evidence in determining the amount of damages.

                   3.      Remittitur

   Plaintiff’s expert calculated the royalty base by identifying and evaluating four alleged benefits:
   (i) higher crop yield; (ii) higher crop quality; (iii) lower irrigation and water costs; and (iv) lower
   off-hauling costs. Dkt. 469, Tr. (McDuff) at 732:17-25. He then reduced that amount by taking
   into account costs and the sharing of value between the parties. Id. at 740: 4-22. However,
   Plaintiff failed to apportion the value of the amount of chlorine dioxide created through catalysis
   from the value of non-infringing chlorine dioxide created without any catalyst.

   One potential means of addressing this shortcoming would be to calculate how much chlorine
   dioxide was generated with and without catalysis. At trial, there was some testimony about the
   estimated efficiency of chlorine dioxide generation at 90% in the reaction chamber. See Dkt.
   469, Tr. at 1033:14-1034:2 (“We average between 90 and 95 percent”); 1037:14-1037:1 (“the
   purity of chlorine dioxide at Camarillo was between 85 and 95 percent.). However, the briefing
   on the Motion did not expressly address whether this data is meaningful or if it could be applied
   in a reasonable and appropriate manner in evaluating apportionment or a potential remittitur.
   Nor did it address whether there may be other potential means of making such calculations
   based on the trial evidence. Therefore, whether a remittitur would be appropriate, cannot be
   determined based on the current submissions.

   In light of the foregoing, and without making any determination as to whether a remittitur would
   be appropriate, the parties are permitted to submit simultaneous supplemental briefing. Such


                                                                                               Page 8 of 9
Case 2:13-cv-08418-JAK-GJS Document 544 Filed 07/13/17 Page 9 of 9 Page ID #:18546

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.     LA CV13-08418 JAK (GJSx)                                       Date    July 13, 2017


 Title        CH2O, Inc. v. Meras Engineering, Inc., et al.

   briefs shall be filed on or before August 14, 2017, and shall set forth the position of each side as
   to whether a reasonable and appropriate calculation of apportionment can be made based on
   the trial evidence. Each brief shall not exceed 12 pages, and shall be accompanied by an
   appendix of any trial exhibits that are cited. Upon the filing of the briefs, the Motion will be
   resubmitted for decision.

   IV.      CONCLUSION

   For the reasons stated in this Order, the Motion is DEFERRED.


   IT IS SO ORDERED.




                                                                                                 :

                                                              Initials of Preparer   ak




                                                                                            Page 9 of 9
